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          Exhibit G-1
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                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 11,064,038


        This claim chart demonstrates NexTraq’s infringement of U.S. Patent No. 11,064,038 and provides notice of such infringement, by comparing
each element of the asserted claims to corresponding components, aspects, and/or features of the Accused Instrumentalities. These claim charts include
information provided by way of example, and not by way of limitation.
      “Accused Instrumentalities” as used herein refers to herein provide event-based notifications/alerts based on locations of fleets of vehicles,
equipment, objects, drivers, and other assets equipped with sensors or tags (the Assets).
       1. NexTraq offers the following tracking products and services (the Accused Instrumentalities), including but not limited to NexTraq® Fleet
           Tracking solution (https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf), which provides
           data to NexTraq® Web Services (http://www.discretewireless.com/resources/APIReference.pdf) for use in various platforms and solutions
           that support:
       (a) NexTraq®’s Fleet Visibility and             Productivity products, services and solutions which are used for vehicle tracking
           (https://www.nextraq.com/services/vehicle-tracking/), asset tracking https://www.nextraq.com/services/asset-tracking/), geo-fencing and
           mapping (https://www.nextraq.com/services/geofencing-mapping/), real-time alerts (https://www.nextraq.com/services/real-time-alerts/),
           sensors (https://www.nextraq.com/services/sensors/) and integration with third party platforms, solutions and/or applications
           (https://www.nextraq.com/services/integration/);
       (b) NexTraq®      View™       and    NexTraq®       Connect™      mobile     apps   which     are    used    by     mobile    work     force
           (https://www.nextraq.com/services/mobile-apps/);
       (c) NexTraq®         Fleet      Defender      (https://www.nextraq.com/services/fleet-defender/)      and       NexTraq®        Dashcam™
           (https://www.nextraq.com/services/dashcam/) which are used for drive safety;
       (d) NexTraq® Driver ID, which is used for Automatic Driver Assignment (https://www.nextraq.com/services/automatic-driver-assignment/)


       NexTraq “Mobile Tracking Devices” and/or “Mobile Devices” means:
       The Accused Instrumentalities track the Assets, which are attached to or carried by mobile devices, including but not limited to:
       1-Vehicle Trackers Family of products (e.g., VT-2300, VT-3030, VT-2630, VT-3640)
       2-Asset Trackers Family of products (e.g., AT-730, AT-5100)

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                                                           PerDiemCo LLC v. NexTraq
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                                                            U.S. Patent No. 11,064,038


       3-Trailer Trackers (e.g., TT-2830)
       4-GPS Tracking Devices (e.g., LMU26H201-NXT01)
       5-Other GPS and sensor, e.g., temperature sensor, equipped mobile devices.
               The analysis set forth below is based only upon information from publicly available resources regarding the Infringing Instrumentalities.
An analysis of NexTraq’s (or other third parties’) technical documentation, and/or software source code, may assist in fully identifying all infringing
features and functionality. Accordingly, PerDiemCo reserves the right to supplement this infringement analysis once such information is made available
to PerDiemCo. Furthermore, PerDiemCo reserves the right to revise this infringement analysis, as appropriate, upon issuance of a court order construing
any terms recited in the asserted claim.
                Unless otherwise noted, PerDiemCo alleges that NexTraq directly infringes the ’038 patent in violation of 35 U.S.C. § 271(a) by selling,
offering to sell, making, using, and/or importing the Infringing Instrumentalities. The following exemplary analysis demonstrates that infringement.
Unless otherwise noted, PerDiemCo further contends that the evidence below supports a finding of indirect or contributory infringement under 35
U.S.C. §§ 271(b) and/or (c), in conjunction with other evidence of liability under one or more of those subsections. NexTraq makes, uses, sells, imports,
or offers for sale in the United States, or has made, used, sold, imported, or offered for sale in the past, without authority, or induces others to make,
use, sell, import, or offer for sale in the United States, or has induced others to make, use, sell, import, or offer for sale in the past, without authority
products, equipment, or services that infringe claims the ’038 patent, including without limitation, the Accused Instrumentalities.
                Unless otherwise noted, PerDiemCo alleges that each element of each claim asserted herein is literally met through NexTraq’s provision
of the Accused Instrumentalities. However, to the extent that NexTraq attempts to allege that any asserted claim element is not literally met, PerDiemCo
believes and contends that such elements are met under the doctrine of equivalents. More specifically, in its investigation and analysis of the Infringing
Instrumentalities, PerDiemCo did not identify any substantial differences between the elements of the patent claim and the corresponding features of
the Infringing Instrumentalities, as set forth herein. In each instance, the identified feature of the Infringing Instrumentalities performs at least
substantially the same function in substantially the same way to achieve substantially the same result as the corresponding claim element.
         To the extent the chart of an asserted claim relies on evidence about certain specifically identified Accused Instrumentalities, PerDiemCo asserts
that, on information and belief, any similarly functioning instrumentalities also infringes the charted claim. PerDiemCo reserves the right to amend
this infringement analysis based on other products made, used, sold, imported, or offered for sale by NexTraq. PerDiemCo also reserves the right to
amend this infringement analysis by citing other claims of the ’038 patent, not listed in the claim chart, that are infringed by the Accused

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                                                                                                                                              Exhibit G-1
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                                                         U.S. Patent No. 11,064,038


Instrumentalities. PerDiemCo further reserves the right to amend this infringement analysis by adding, subtracting, or otherwise modifying content in
the “Accused Instrumentalities” column of each chart.


 Claim     US Patent         Description of the Infringement
          11,064,038
 Indep A     notification    NexTraq Fleet Tracking platform is a cloud-based solution for tracking assets using a standard Internet connection. On
   .   method that uses      information and belief, the Accused Instrumentalities use applications, storage, on-demand services, computer networks,
 Cl. 1 locations       of    including servers and databases or other resources that are accessed with the Internet connection through on-premise or
       mobile devices        another provider's shared cloud computing framework, including servers and databases administered by third parties.
  1-p carried          in    On information and belief, the Accused Instrumentalities use an access identity and management (IAM) services to
       vehicles        to    securely control access to S resources used by NexTraq’s cloud-based solution. More specifically, the Accused
       convey driving        Instrumentalities use the IAM to control who is authenticated (signed in) and authorized (has permissions) to use the
       event                 resources.
       notifications
       when       driving
       events      occur,
       wherein        the
       notification
       method           is
       executed by one
       or more servers
       having access to
       a database (DB),
       wherein the one
       or more servers
       are configured by
       a         tracking
       application
       software of a

                                                                         3

                                                                                                                                       Exhibit G-1
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                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 11,064,038


Claim      US Patent        Description of the Infringement
          11,064,038
       tracking service     (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
       provider, which
       controls
       conveyance of
       the driving event
       notifications in a
       tracking service
       used            by
 1-p authorized users
(cont. of a plurality of
  )    companies
       having
       corresponding        (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
       authorized user
       accounts
       accessible based
       on information
       stored in the DB,
       each company
       tracking one or
       more groups of
       vehicles based on
       mobile      device   (Source: Page No. 4 of https://www.infotelligent.com/company/verizon-networkfleet/company/3485751 )
       locations, which
       are determined       On information and belief, the Accused Instrumentalities currently use NexTraq’s tracking applications executed by
       based           on   servers of a database management system (DBMS) constituting DBMS Applications (DBMSAs), including NexTraq®
       information          Fleet Tracking applications (the Accused Applications), which rely on managed database services used in an on-premise
       received     from    data warehouse solution.
       wireless location
                                                                          4

                                                                                                                                   Exhibit G-1
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                                                      PerDiemCo LLC v. NexTraq
                                       PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                       U.S. Patent No. 11,064,038


Claim       US Patent      Description of the Infringement
            11,064,038
        information        On information and belief, NexTraq is re-platforming its Fleet Tracking platform so that the Accused Instrumentalities
        sources (LISs),    would transition to using AWS native services such as AWS Relational Database Service (RDS), a managed database
        the       method   service provided by AWS databases (DB) and AWS Redshift, Oracle, MS SQL, etc.
        comprising:




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                                                 PerDiemCo LLC v. NexTraq
                                  PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                  U.S. Patent No. 11,064,038


Claim   US Patent     Description of the Infringement
        11,064,038




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                                                    PerDiemCo LLC v. NexTraq
                                     PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                     U.S. Patent No. 11,064,038


Claim   US Patent     Description of the Infringement
        11,064,038
                      (Source: Page No. 1 of https://employzone.com/job-view/us-ga-atlanta/cloud-data-
                      engineer/dayforcehcm/9505416277?ez_source=alert&ez_campaign=daily-alert&ez_medium=azcs)
                      -----------------------------------------------------------------------------------------------------------------------------------------------
                      The mobile tracking devices/mobile devices are associated with vehicles identified by OID i.e., VIN.

                                                              Mobile Objects/Assets/Vehicles identified by OIDs




                      (Source: Page No. 3 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)

                      The Accused Instrumentalities track locations of mobile devices carried in vehicles using wireless GPS location
                      information sources. The mobile devices are identified by Hardware IDs.

                                                                Mobile Devices identified by Device IDs (DIDs)




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                                                                                                                                                  Exhibit G-1
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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 11,064,038


Claim   US Patent     Description of the Infringement
        11,064,038
                      (Source: Page No. 2 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                      (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                                            Exhibit G-1
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038
                       (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)

                                                    Mobile Devices Equipped with Location Information Sources
                       1-Vehicle Trackers Family of products (e.g., VT-2300, VT-3030, VT-2630, VT-3640)
                       2-Asset Trackers Family of products (e.g., AT-730, AT-5100)
                       3-Trailer Trackers (e.g., TT-2830)
                       4-GPS Tracking Devices (e.g., LMU26H201-NXT01)




                       (Source: Page No. 27 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )




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                                                                                                                                  Exhibit G-1
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 2 of https://www.nextraq.com/services/vehicle-tracking/ )




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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038
                       (Source: Page No. 3 of https://www.nextraq.com/services/vehicle-tracking/ )




                       (Source: Page No. 2 of https://www.nextraq.com/services/vehicle-tracking/ )




                       (Source: Page No. 1 of https://www.ebay.com/itm/272838073110)
                                                                      11

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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 1 of https://www.nextraq.com/services/asset-tracking/)




                       (Source: Page No. 2 of https://www.nextraq.com/services/asset-tracking/)




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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 2 of https://www.nextraq.com/services/asset-tracking/)




                       (Source: Page No. 3 of https://www.nextraq.com/services/asset-tracking/)




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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 1 of https://www.ebay.com/itm/174395543130?chn=ps&norover=1&mkevt=1&mkrid=711-213727-13078-
                       0&mkcid=2&itemid=174395543130&targetid=4580359295528874&device=c&mktype=&googleloc=&poi=&campaignid=437
                       225724&mkgroupid=1228154759183859&rlsatarget=pla-
                       4580359295528874&abcId=9300907&merchantid=51291&msclkid=ac556c89a9351a832f4c0fa25eb06e08 )
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                       As provider of the above tracking services, NexTraq controls conveyance of driving event notifications, i.e., alerts.

                                                                         Driving Event Notifications/Alerts




                       (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)



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                                                                                                                                                  Exhibit G-1
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                                                   PerDiemCo LLC v. NexTraq
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                                                    U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




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                                                                                                                            Exhibit G-1
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                           PerDiemCo LLC v. NexTraq
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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038
                       (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                       (Source: Page No. 1 of https://www.nextraq.com/services/geofencing-mapping/)
                       --------------------------------------------------------------------------------------------------------------------------------------------
                       The servers are configurable to track the mobile device’s locations for determining occurrences of events that meet event
                       conditions related to the locations of the mobile devices, such as arrivals and departures.

                                                                                    Driving Events




                                                                           17

                                                                                                                                               Exhibit G-1
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                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 1 of https://www.nextraq.com/services/geofencing-mapping/)




                       (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                       The locations of the mobile devices are determined based on information received from wireless GPS location
                       information sources (LISs).

                                                                           18

                                                                                                                                                Exhibit G-1
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                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                       --------------------------------------------------------------------------------------------------------------------------------------------

                                                                                        Databases




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                                                                                                                                                  Exhibit G-1
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 1 of https://www.nextraq.com/resource/hvac-companies-win-with-gps-fleet-management/ )




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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 111 of http://www.alltrackusa.com/RTH_user_guide.pdf)

                       -------------------------------------------------------------------------------------------------------------------------------------------

                       As subscribers of the services provided by the Accused Instrumentalities, the authorized users are employed by customers
                       of NexTraq in different customer groups. These customer groups are identified in the on-premise data warehouse or the
                       AWS database (DB) by corresponding group IDs (GIDs), such as customer name.

                                                                       Groups identified by Group IDs (GIDs)




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                                                                                                                                                  Exhibit G-1
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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 18 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 199 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                       -----------------------------------------------------------------------------------------------------------------------------------------------
                       The driving event notifications (i.e., alerts) are conveyed to authorized users of the tracking service.

                                                                       Authorized users identified by user IDs




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                                                                                                                                                  Exhibit G-1
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                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 207 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)
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                                                                                                   Exhibit G-1
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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                       --------------------------------------------------------------------------------------------------------------------------------------------
                                                                                Authorized user accounts




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                                                                                                                                                  Exhibit G-1
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
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                       (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                                                                                    Group of vehicles




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                                                                                                                                                  Exhibit G-1
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038
                       (Source: Page No. 196 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 196 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 196 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                              PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                              U.S. Patent No. 11,064,038


Claim      US Patent           Description of the Infringement
           11,064,038
                               (Source: Page No. 197 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 1-a    using one or           See 1-p for the tracking service, vehicles, mobile devices, driving event notifications, mobile device locations, tracking
        more           first   application software, tracking service provider, one or more servers, driving event condition, database, authorized users,
        computing              plurality of companies, authorized user accounts, group of vehicles and wireless location information sources (LISs).
        devices in a first
        network           of   NexTraq (or an administrator employed by NexTraq) administers NexTraq’s network of computing devices, which is a
        computing              first network of computing devices administered under NexTraq’s first level of administrative privilege.
        devices of the         --------------------------------------------------------------------------------------------------------------------------------------------
        tracking service       As provider of the above services, NexTraq defines the customer groups. These customer groups are identified in the on-
        provider          to   premise data warehouse or the AWS database (DB) by corresponding group IDs (GIDs), such as customer name.
        configure       the
        tracking                                                             Groups identified by Group IDs (GIDs)
        application
        software         by
        identifying        a
        plurality         of
        groups in the DB
        using        group
        identification
        codes      (GIDs)
        stored in the DB,
        a             GID
        identifying        a   (Source: Page No. 18 of http://www.alltrackusa.com/RTH_user_guide.pdf)
        company which
        tracks a group of
        vehicles
        including a first
        vehicle        that
        carries a first
                                                                                   29

                                                                                                                                                       Exhibit G-1
                                                                                                                                                     Page 29 of 56
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                                                           PerDiemCo LLC v. NexTraq
                                            PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                            U.S. Patent No. 11,064,038


Claim      US Patent         Description of the Infringement
           11,064,038
       mobile      device
       and a second
       vehicle        that
 1-a carries a second
(cont. mobile device,
  )    wherein the GID
       is associated in
       the DB with a
       plurality of user
       identification
       codes          that   (Source: Page No. 199 of http://www.alltrackusa.com/RTH_user_guide.pdf)
       identify              -----------------------------------------------------------------------------------------------------------------------------------------------
       authorized users      The vehicles are associated with mobile tracking devices/mobile devices identified by Hardware Ids. Each vehicle carries
       of the company,       a mobile device i.e., the first vehicle carries a first mobile device, and a second vehicle carries a second mobile device.
       and wherein the
       tracking
       application
       software         is   (Source: Page No. 2 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)
       further
       configured       to
       control access to
       the     authorized
       user accounts of
       authorized users
       of the tracking
       service in the
       plurality        of
       groups,        said
       authorized users
                                                                                  30

                                                                                                                                                       Exhibit G-1
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                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 11,064,038


Claim       US Patent     Description of the Infringement
           11,064,038
       including 1) a
       group
       administrator of
       the      company
       having a group
       administrator
 1-a identification
(cont. code used to
  )    access a group
       administrator
       account and 2) a
       first authorized
       user     of    the
       company having
       a first authorized
       user               (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)
       identification
       code used to
       access a first
       authorized user
       account;




                           (Source: Page No. 182 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                           ---------------------------------------------------------------------------------------------------------------------------------------------
                                                                                31

                                                                                                                                                      Exhibit G-1
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038
                       The authorized users are identified by user identification codes i.e., a username and a password.

                                                               Authorized users identified by user IDs




                       (Source: Page No. 207 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                                             Exhibit G-1
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                       --------------------------------------------------------------------------------------------------------------------------------------------
                       NexTraq controls access the authorized user accounts of authorized users of the tracking service in the plurality of
                       customer groups.

                                                                                Authorized user accounts




                                                                           34

                                                                                                                                               Exhibit G-1
                                                                                                                                             Page 34 of 56
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                   Exhibit G-1
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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                        --------------------------------------------------------------------------------------------------------------------------------------------
                       The customer group defined by NexTraq has a group administrator identified by a group administrator ID who has a
                       group administrator account. NexTraq controls access to the group administrator account of the group administrator of
                       each customer.

                                                                                Administrator Account


                                                                           36

                                                                                                                                                Exhibit G-1
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038



                       (Source: Page No. 168 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 1 of https://www.nextraq.com/terms-and-conditions/ )




                       (Source: https://www.nextraq.com/terms-and-conditions/ )




                       (Source: Page No. 203 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                   Exhibit G-1
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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                       ---------------------------------------------------------------------------------------------------------------------------------------------
                       A first authorized user is identified by a first user ID to access a first user account.
                                                                            38

                                                                                                                                                  Exhibit G-1
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 209 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                        PerDiemCo LLC v. NexTraq
                                         PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                         U.S. Patent No. 11,064,038


Claim      US Patent        Description of the Infringement
           11,064,038




                            (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                            (Source: Page No. 14 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 1-b    receiving      an   See 1-p for the tracking service, vehicles, mobile devices, driving event notifications, mobile device locations, tracking
        access request to   application software, tracking service provider, one or more servers, driving event condition, database, authorized users,
        the        group    plurality of companies, authorized user accounts, group of vehicles and wireless location information sources (LISs).
        administrator
        account from a      See 1-a for the first computing device, first network of computing devices, plurality of groups, group identification codes
        second              (GIDs), first vehicle, first mobile device, second vehicle, second mobile device, user identification codes, group
        computing           administrator, group administrator identification code, group administrator account, first authorized user, first authorized
        device    in    a   user account and first authorized user identification code.
                                                                           40

                                                                                                                                      Exhibit G-1
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                                                       PerDiemCo LLC v. NexTraq
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                        U.S. Patent No. 11,064,038


Claim       US Patent      Description of the Infringement
           11,064,038
        second network
        of     computing
        devices different                                       Second computing device in a second network
        from the first
        network         of
        computing
        devices of the
        tracking service;




                           (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                                                                                Exhibit G-1
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                                                          PerDiemCo LLC v. NexTraq
                                           PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                           U.S. Patent No. 11,064,038


Claim      US Patent          Description of the Infringement
           11,064,038




                              (Source: Page No. 9 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 1-c    granting access       See 1-p for the tracking service, vehicles, mobile devices, driving event notifications, mobile device locations, tracking
        to the group          application software, tracking service provider, one or more servers, driving event condition, database, authorized users,
        administrator         plurality of companies, authorized user accounts, group of vehicles and wireless location information sources (LISs).
        account before
        associating,     in   See 1-a for the first computing device, first network of computing devices, plurality of groups, group identification codes
        the DB, the first     (GIDs), first vehicle, first mobile device, second vehicle, second mobile device, user identification codes, group
        authorized user       administrator, group administrator identification code, group administrator account, first authorized user, first authorized
        identification        user account and first authorized user identification code.
        code of the first
        authorized user       See 1-b for the second computing device, second network of computing devices.
        with an access
        code in the DB        After granting access to the group administrator account, the group administrator specifies an access code that identifies
        that     identifies   one or more recipients of driving event notifications/alerts after the group event occurs.
        recipients of the
        driving      event                                                          Access Codes
        notifications,


                                                                            42

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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                       (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




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                                                       PerDiemCo LLC v. NexTraq
                                        PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                        U.S. Patent No. 11,064,038


Claim      US Patent       Description of the Infringement
           11,064,038
                           (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




                           (Source: Page No. 149 of http://www.alltrackusa.com/RTH_user_guide.pdf)

                          The access codes identify one or more users who are privileged to be recipients of a notification information, i.e., alert,
                          when the group event such as arrival or departure occurs.
 1-d    granting access See 1-p for the tracking service, vehicles, mobile devices, driving event notifications, mobile device locations, tracking
        to    the   first application software, tracking service provider, one or more servers, driving event condition, database, authorized users,
        authorized user plurality of companies, authorized user accounts, group of vehicles and wireless location information sources (LISs).
        account based on
        the         first
                                                                        45

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                                                           PerDiemCo LLC v. NexTraq
                                            PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                            U.S. Patent No. 11,064,038


Claim        US Patent         Description of the Infringement
            11,064,038
        authorized user        See 1-a for the first computing device, first network of computing devices, plurality of groups, group identification codes
        identification         (GIDs), first vehicle, first mobile device, second vehicle, second mobile device, user identification codes, group
        code        before     administrator, group administrator identification code, group administrator account, first authorized user, first authorized
        conveying       the    user account and first authorized user identification code.
        driving      event
        notifications to       See 1-b for the second computing device, second network of computing devices.
        the            first
        authorized user;       See 1-c for access codes, recipients.
 1-e    receiving 1) a         See 1-p for the tracking service, vehicles, mobile devices, driving event notifications, mobile device locations, tracking
        first        event     application software, tracking service provider, one or more servers, driving event condition, database, authorized users,
        condition       for    plurality of companies, authorized user accounts, group of vehicles and wireless location information sources (LISs).
        occurrence of a
        first      driving     See 1-a for the first computing device, first network of computing devices, plurality of groups, group identification codes
        event that is met      (GIDs), first vehicle, first mobile device, second vehicle, second mobile device, user identification codes, group
        based            on    administrator, group administrator identification code, group administrator account, first authorized user, first authorized
        locations of the       user account and first authorized user identification code.
        first       mobile
        device            or   See 1-b for the second computing device, second network of computing devices.
        locations of the
        second mobile          See 1-c for access codes, recipients.
        device relative to
        a     zone        or   The Accused Instrumentalities receive first event condition related to the locations of the mobile devices, such as arrivals
        boundary and 2)        and departures for occurrence of a first driving event that is met based on locations of the first mobile device or locations
        a second event         of the second mobile device relative to a zone or boundary.
        condition       for
        occurrence of a                                                           First Event Condition
        second driving
        event that is met
        based on sensor
                                                                             46

                                                                                                                                          Exhibit G-1
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                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 11,064,038


Claim        US Patent     Description of the Infringement
            11,064,038
        information
        received     from
        sensors       that
        measure
        characteristics of
        a        physical
        environment
        detected at the
        first      mobile
        device or the
        second mobile
        device;




                           (Source: Page No. 1 of https://www.nextraq.com/services/geofencing-mapping/)




                           (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)
                           ---------------------------------------------------------------------------------------------------------------------------------------------
                                                                             Zone/Landmark/Geofence/Boundary


                                                                                47

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                                                     PerDiemCo LLC v. NexTraq
                                      PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                      U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 177 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 29 of http://www.alltrackusa.com/RTH_user_guide.pdf )
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                                                                                                                                                  Exhibit G-1
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038
                       The Accused Instrumentalities receive second event condition based on sensor information, such as speed violation for
                       occurrence of a second driving event that is met based on sensor information received from sensors that measure
                       characteristics of a physical environment detected at the first mobile device or the second mobile device.

                                                                           Second Event Condition




                       (Source: Page No. 90 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 1 of https://www.nextraq.com/services/real-time-alerts/)

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                                                           PerDiemCo LLC v. NexTraq
                                            PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                            U.S. Patent No. 11,064,038


Claim      US Patent         Description of the Infringement
           11,064,038
                              ---------------------------------------------------------------------------------------------------------------------------------------------
                                                                                         Sensor information




                             (Source: Page No. 18 of http://www.alltrackusa.com/RTH_user_guide.pdf)
 1-f    conveying a first    See 1-p for the tracking service, vehicles, mobile devices, driving event notifications, mobile device locations, tracking
        driving     event    application software, tracking service provider, one or more servers, driving event condition, database, authorized users,
        notification after   plurality of companies, authorized user accounts, group of vehicles and wireless location information sources (LISs).
        the first event
        condition is met     See 1-a for the first computing device, first network of computing devices, plurality of groups, group identification codes
        based on the zone    (GIDs), first vehicle, first mobile device, second vehicle, second mobile device, user identification codes, group
        or boundary and      administrator, group administrator identification code, group administrator account, first authorized user, first authorized
        determined           user account and first authorized user identification code.
        locations of the
        first      mobile    See 1-b for the second computing device, second network of computing devices.
        device or the
        second mobile        See 1-c for access codes, recipients.
        device; and
                             See 1-e for the first event condition, zone/boundary, a second event condition, sensor information.

                             The tracking service provided by the Accused Instrumentalities is used for controlling conveyance of first driving event
                             notifications, i.e., alerts related to arrival and departure.

                                                                             First Driving Event Notification/Alert
                                                                                  50

                                                                                                                                                        Exhibit G-1
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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




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                                                  PerDiemCo LLC v. NexTraq
                                   PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                   U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038




                       (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)




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                           PerDiemCo LLC v. NexTraq
            PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                            U.S. Patent No. 11,064,038




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                                                          PerDiemCo LLC v. NexTraq
                                           PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                           U.S. Patent No. 11,064,038


Claim      US Patent          Description of the Infringement
           11,064,038
                              (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)
 1-g    conveying         a   See 1-p for the tracking service, vehicles, mobile devices, driving event notifications, mobile device locations, tracking
        second driving        application software, tracking service provider, one or more servers, driving event condition, database, authorized users,
        event notification    plurality of companies, authorized user accounts, group of vehicles and wireless location information sources (LISs).
        after the second
        event condition       See 1-a for the first computing device, first network of computing devices, plurality of groups, group identification codes
        is met, wherein       (GIDs), first vehicle, first mobile device, second vehicle, second mobile device, user identification codes, group
        the first event       administrator, group administrator identification code, group administrator account, first authorized user, first authorized
        driving               user account and first authorized user identification code.
        notification    or
        the        second     See 1-b for the second computing device, second network of computing devices.
        driving      event
        notification     is   See 1-c for access codes, recipients.
        conveyed only to
        recipients            See 1-e for the first event condition, zone/boundary, a second event condition, sensor information.
        identified by the
        access code.          See 1-f for the first driving event notification.

                              The tracking service provided by the Accused Instrumentalities is used for controlling conveyance of second driving
                              event notifications, i.e., alerts related to speed violations.

                                                                        Second Driving Event Notification/Alert




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                                                   PerDiemCo LLC v. NexTraq
                                    PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                    U.S. Patent No. 11,064,038


Claim   US Patent      Description of the Infringement
        11,064,038
                       (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 148 of http://www.alltrackusa.com/RTH_user_guide.pdf)




                       (Source: Page No. 9 of https://www.nextraq.com/wp-content/uploads/2018/04/NexTraq_New_User_Quick_Start_Guide.pdf)


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                                                                                                                            Exhibit G-1
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                                                         PerDiemCo LLC v. NexTraq
                                          PERDIEM CO., LLC’S PRELIMINARY INFRINGEMENT CONTENTIONS
                                                          U.S. Patent No. 11,064,038


 Claim      US Patent        Description of the Infringement
            11,064,038




                             (Source: Page No. 149 of http://www.alltrackusa.com/RTH_user_guide.pdf)

Caveat: The notes and/or cited excerpts utilized herein are set forth for illustrative purposes only and are not meant to be limiting in any manner.
For example, the notes and/or cited excerpts, may or may not be supplemented or substituted with different excerpt(s) of the relevant reference(s), as
appropriate. Further, to the extent any error(s) and/or omission(s) exist herein, all rights are reserved to correct the same.




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